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 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         ) 3:15-CR-013-RCJ-(WGC)
                                                     )
 9                         Plaintiff,                )
                                                     )
10           v.                                      ) Preliminary Order of Forfeiture
                                                     )
11 ANGELA TELLO and                                  )
   JULIO CONTRERAS,                                  )
12                                                   )
                   Defendants.                       )
13

14           This Court finds that defendant ANGELA TELLO pled guilty to Count Fifteen of a

15 Thirty-Two-Count Fourth Superseding Indictment charging her with Money Laundering in

16 violation of Title 18, United States Code, Section 1956(a)(1)(B)(i). Fourth Superseding

17 Indictment, ECF No. 114; Plea Agreement, ECF No. 168; Change of Plea, ECF No. 171.

18           This Court finds that defendant JULIO CONTRERAS pled guilty to Count One of a

19 Thirty-Two-Count Fourth Superseding Indictment charging him with Conspiracy to Commit

20 Money Laundering in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i) and

21 1956(h). Fourth Superseding Indictment, ECF No. 114; Change of Plea, ECF No. 172; Plea

22 Agreement, ECF No. 173.

23           This Court finds defendant ANGELA TELLO and JULIO CONTRERAS agreed to the

24 forfeiture of the property set forth in the Plea Agreements and the Forfeiture Allegation of the

25 Fourth Superseding Indictment. Fourth Superseding Indictment, ECF No. 114; Tello Plea

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 1 Agreement, ECF No. 168; Tello Change of Plea, ECF No. 171; Contreras Change of Plea, ECF

 2 No. 172; Contreras Plea Agreement, ECF No. 173.

 3          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

 4 America has shown the requisite nexus between property set forth in the Plea Agreements and

 5 the Forfeiture Allegation of the Fourth Superseding Indictment and the offenses to which

 6 defendants ANGELA TELLO and JULIO CONTRERAS pled guilty.

 7          The following property is subject to forfeiture pursuant to Title 18, United States Code,

 8 Section 982(a)(1):

 9                  1. a 2007 Nissan Maxima SL, vehicle identification number (VIN)

10                      1N4BA41E27C866501, registered to Michael Perez-DeGracia and Lorena

11                      Tello; and

12                  2. a personal money judgment of forfeiture in the amount of $156,500 for which

13                      defendants ANGELA TELLO and JULIO CONTRERAS shall each be jointly

14                      and severally liable,

15 (all of which constitutes property).

16          This Court finds the United States of America is now entitled to, and should, reduce the

17 aforementioned property to the possession of the United States of America.

18          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

19 the United States of America should seize the aforementioned property.

20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest

21 of ANGELA TELLO and JULIO CONTRERAS in the aforementioned property is forfeited and

22 is vested in the United States of America and shall be safely held by the United States of

23 America until further order of the Court.

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of

25 America shall publish for at least thirty (30) consecutive days on the official internet government

26 forfeiture website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited
     property, state the time under the applicable statute when a petition contesting the forfeiture must


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 1 be filed, and state the name and contact information for the government attorney to be served

 2 with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code,

 3 Section 853(n)(2).

 4           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or

 5 entity who claims an interest in the aforementioned property must file a petition for a hearing to

 6 adjudicate the validity of the petitioner’s alleged interest in the property, which petition shall be

 7 signed by the petitioner under penalty of perjury pursuant to Title 21, United States Code,

 8 Section 853(n)(3) and Title 28, United States Code, Section 1746, and shall set forth the nature

 9 and extent of the petitioner’s right, title, or interest in the forfeited property and any additional

10 facts supporting the petitioner’s petition and the relief sought.

11           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

12 filed with the Clerk of the Court, Bruce R. Thompson U.S. Courthouse and Federal Building,

13 400 South Virginia Street, 3rd Floor, Reno, NV 89501, no later than thirty (30) days after the

14 notice is sent or, if direct notice was not sent, no later than sixty (60) days after the first day of

15 the publication on the official internet government forfeiture site, www.forfeiture.gov.

16           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if

17 any, shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at

18 the following address at the time of filing:

19                   Greg Addington
                     Assistant United States Attorney
20                   100 West Liberty Street, Suite 600
                     Reno, NV 89501
21

22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described

23 herein need not be published in the event a Declaration of Forfeiture is issued by the appropriate

24 agency following publication of notice of seizure and intent to administratively forfeit the above-

25 described property.

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1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

2 of this Order to all counsel of record.

3                     23rdday
           DATED this ___  dayofof____________,
                                   August, 2016. 2016.

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                                              UNITED STATES DISTRICT JUDGE
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